Case 1:18-cv-00719-CCR   Document 252-40   Filed 02/07/25   Page 1 of 30




                 Exhibit 39
Case 1:18-cv-00719-CCR   Document 252-40   Filed 02/07/25   Page 2 of 30




                                                                                        l
  BUFFALO POLICE DEPARTMENT                                                             l
                                                                                        1

                                                                                        1



                                                                                   - I

                                                                                        J




            RULES & REGULATIONS

                                                                    EXHIBIT

                                                                     50
                                                                   01-24-2024


                                                                     COB_INC_00000065
                                                                                      --
Case 1:18-cv-00719-CCR    Document 252-40   Filed 02/07/25   Page 3 of 30




                           TABLE OF CONTENTS
                                                                                         l
                                                                 Page(s)

ATTESTATION                                                           1                  l
LAW ENFORCEMENT CODE OF ETHICS                                        2

INTRODUCTION                                                          3           \
                                                                                         1
DEFINITIONS & GLOSSARY

CHAPTER I - ORDERS & DISCIPLINE
                                                                      5-8
                                                                                         l
                                                •
    1.1      Obedience to Laws, Ordinances&. Rules                    9
    1.2      Familiarity with the Laws, Ordinances, Rules             9
    1.3      Obedience to Orders                                      9
    1.4      Issuance of Orders                                       9
    1.5      Unlawful Orders·                                         9
    1.6      Unjust or Improper Orders                              10
    1.7      Conflict of Orders                                     10
    1.8      Instructions From Radio Dispatcher                     10
    1. 9     Effectiveness of Orders                                10
    1.10     Insubordination                                        10
                                                                    10
CHAPTER II - PERFORMANCE OF AND ATTENTION TO DUTY

    2.1       General Duties                                        11
    2.2       Respond When Directed                                 11
    2.3       Reporting for Duty                                    11
    2.4      Attention to Duty                                      11
    2.5       Devotion to Duty                                      11
    2.6       Absence from Duty                                     11
    2.7       Action Request Regardless of Assignment               11
    2 .• 8    Seeking Information Regarding Duties                  11
   2.9        Driving Private Vehicle to Post                       11
   2.10       Inspecting Area of Assignment                         12
   2.11       Leaving Area of Assignment                            12
   2.12      Attitude And Impartiality                              12
   2.13       Courtesy                                              12
   2.14      Assistance To Fellow Employees                         12
   2.15      Assistance To Citizens                                 12
   2.16      Civil Disputes                                         12
   2.17      Medical Attention for Ill/Injured Persons              12
   2.18      .Serving :warrants/Subpoenas                           12
   2.19      Taking Arrested Persons to Headquarters                12
   2.20      Appearances Required                                   13
   2.21      Loitering Or Sleeping On Duty/Congregating             13
   2.22      Conducting Private Business or Association
                on Duty                                             13
   2.23      Reading on Duty                                        13
   2.24      Meal Periods and Personal Services                     13
   2.25      Commanding Officers Addressed by Title                 13



                                   i


                                                                      COB_INC_00000065
Case 1:18-cv-00719-CCR   Document 252-40   Filed 02/07/25   Page 4 of 30




  CHAPTER II - PERFORMANCE OF AND ATTENTION TO DUTY {CONT'D)

      2.26   Concealment                                               13
      2.27   civilian Passengers In Police Vehicles                    13

  CHAPTER III - GENERAL CONDUCT
      3.1    Responsibility                                            14
      3.2    Conduct                                                   14
      3.3    Frequenting Unlawful Establishments                       14
      3.4    Personal Associations                                     14
      3.5    Truthfulness                                              14
      3.6    Unnecessary Force                                         14
      3.7    Discussing Evidence                                       14
      3.8    Divulging Police Information                              15
      3.9    Information Where City Is Interested Party                15
      3.10   Speeches, Statements, Etc.                                15
      3.11   Forwarding Information                                    15
      3.12   Independent Investigations                                15
      3.13   Testimony                                                 15
      3.14   Accepting Rewards, Gratuities, Etc.                       15
      3.15   Testimonials, Solicitations, Etc.                         15,16
      3.16   Membership and Organizations                              16
      3.17   Political Activity                                        16
      3.18   Seeking/Accepting Compensation For Damages
               or Injury                                               16
      3.19   Debts                                                     16
      3.20   Expenditures Of Department Funds                          16
      3.21   Correspondence, Letterheads                               16
      3.22   Personal Cards                                            17
      3.23   Found, Recovered Property                                 17
      3.24   Use of Alcoholic Beverages                                17
      3.25   Use of Tobacco                                            17
      3.26   Controlled Substance                                      17
      3.27   Use of Force                                              17
      3.28   Firearms and Ammunition                                   17
      3.29   Applications for Pistol Permits                           17,18
      3.30   Uniforms                                                  18
      3.31   Non-Uniform Attire                                        18
      3.32   Outside Employment                                        18
      3.33   Sick Leave                                                18
  CHAPTER IV - USE OF OFFICIAL POSITION

      4.1    Use o.f. Badge or Position For Personal Gain              19
      4.2    Disclosing Name and Badge Number                          19
      4.3    Courtesy Cards                        _                   19
      4.4    Using Photograph For Commercial Purpose                   19
      4.5    Using Influence of Office For Political Gain              19
      4.6    Recommending Attorneys                                    19
      4.7    Giving Surety or Bail For Persons In Custody              19
      4.8    Withdrawing Charges                                       19
      4.9    Communicating Information To Aid Evasion                  19



                                    ii.


                                                                      COB_INC_00000065
    Case 1:18-cv-00719-CCR   Document 252-40   Filed 02/07/25   Page 5 of 30



     CHAPTER IV - USE OF OFFICIAL POSITION (CONT'D)

         4.10   Warrants For Personal Assaults                            20
         4.11   Civil Cases                                               20
         4.12   Appearing As Witness: For Defense or Civil Case           20
         4.13   Communication Between Prisoners and Attorneys             20
         4.14   Unlawful Compromise                                       20
         4.15   Plea Bargaining                                           20
         4.16   Connection With Liquor Estabishment                       20

     CHAPTER V - DEPARTMENTAL PROPERTY

         5.1    Use and Responsibility                                    21
         5.2    Reporting Loss Or Damage                                  21
         5.3    Qualification Required                                    21
         5.4    Property Not To Be Removed                                21
         5.5    Return Of Issued/Assigned Property                        21
         5.6    Unauthorized Communication Devices                        21
         5.7    Departmental Buildings                                    21,22

     CHAPTER VI - REPORTS. RECORDS AND COMMUNICATIONS

         6.1    Altering, Delaying, Removing or.Falsifying
                  Reports                                                 23
         6.2    Inspection; Copying of Reports                            23
         6.3    Departmental Business; Timeliness of Reports              23
         6.4    Reporting Violations                                      23
         6.5    Reporting Illegal Activities                              23
         6.6    Unauthorized Gifts, Gratuity, Etc.                        23
         6.7    Testimony For Defense                                     24
         6.8    Information Regarding Crime                               24
         6.9    Arrests and Court Actions                                 24
         6.10   Address and Telephone Number                              24
         6.11   Civil suits; Claims For Loss or Personal Injury           24

     CHAPTER VII - SUPERIOR OFFICERS/SUPERVISORS

         7.1    Duties and Responsibilities; General                      25
         7.2    Abuse of Subordinates                                     25
         7.3    Duty to Investigate and Report Misconduct                 25
         7.4    Exemplary Conduct Expected                                25
         7.5    Duty to Discover                                          25




I
I
I
                                      iii.



                                                                           COB_INC_00000065
   Case 1:18-cv-00719-CCR              Document 252-40           Filed 02/07/25        Page 6 of 30


                                            ATTESTATION

By virtue of the authority vested in the Commissioner of Police by the Charter of the City of Buffalo, I        l
hereby order the adoption of the following Rules and Regulations for the government and discipline of
the Buffalo Police Department.
The precepts in the introduction are also incorporated as a part of the Rules and Regulations.
                                                                                                                l
These Rules and Regulations supersede any previously issued. The right to amend or revoke these Rules            1
and Regulations at any time is reserved to the Commissioner of Police.

~.~~
     1997
                                                                                                                1
                                   R. Gil Kerlikowske
                                   Commissioner of Police




                                                                                                   COB_INC_00000065
    Case 1:18-cv-00719-CCR              Document 252-40            Filed 02/07/25         Page 7 of 30
r
                                  LAW ENFORCEMENT CODE OF ETIIlCS


    AS A LAW ENFORCEMENT OFFICER, my fundamental duty is to serve mankind~ to safeguard
    lives and property; to protect the innocent against deception, the weak against oppression or
    intimidation, and the peaceful against violence or disorder; and to respect the Constitutional rights of
    all persons to liberty, equality and justice.

    I WlLL keep my private life unsullied as an example to all; maintain courageous. calm in the face of
    danger, scorn, or ridicule; develop self-restraint; and be constantly mindful of the welfare of others.
    Honest in thought and deed in both my personal and official life, I will be exemplary in obeying the
    laws of the land and the regulations of my Department. Whatever I see or hear of a confidential
    nature or that is confided in me in my official capacity will be kept ever secret unless revelation is
    necessary in the performance of my duty.

    I WILL never act officiously or permit personal feelings, prejudices, animosities or friendships to
    influence my decisions. With no compromise for crime and with relentless prosecution of criminals, I
    will enforce the law courteously and appropriately without fear or favor, malice or ill will, never
    employing unnecessary force or violence and never accepting gratuities.

    I RECOGNIZE the badge of my office as a symbol of public faith, and I accept it as a public trust to
    be held so long as I am true to the ethics of the police service. I will constantly strive to achieve these
    objectives and ideals,-dedicating myself before God to my chosen profession .... law enforcement.




                                                                                                                         'j

                                                                                                                         I
                                                                                                                         I
                                                                                                                         I
                                                        2
                                                                                                                         I
                                                                                                          COB_INC_00000065
  Case 1:18-cv-00719-CCR                Document 252-40            Filed 02/07/25         Page 8 of 30

                                                                                                                      i
                                            INTRODUCTION
A police organization is established by law. Its employees serve those whose personal _conduct they may               J
b-: ,..ailed upon to regulate by enforcing laws and ordinances p~sed by the repre~ntatiyes of these same
people.. The primary objectives of the Police Department include: prot~m~ life and property,
preven~mg ctlb...,.: suppressing criminal activity, apprehending and prosecuting VIolators of the law,
                                                                                                                      1
regulating non-cnntlllbL (',()nduct, and preserving the peace.
In our democratic society the· legt~e frames and constructs the law while the judiciary interprets the
law and imposes the necessary penalties U<pon transgressors. It is the police, however, who have ~e
sworn duty to directly apply and execute the li:nl fairly. and objectively for the benefit of the entire
community. This task has become one of the most ~ t and most demanding responsibilities in the
public service.
The letter of the law indicates what a member does to discharge the obligations imposed by the oath of
office, but it does not encompass the consequences which may arise from the universal application of
these laws. Since it is not possible to anticipate every situation that may arise, or to prescribe the specific
course of action required for each case, the exercise of common sense and good judgment by those
entrusted with law enforcement is necessary to make the police service equitable and effective.
An understanding of human behavior and the application of the principles of common acceptance will go
far towards the realiz.ation of the primary police objectives but these two qualities alone are not sufficient
to ensure the proper handling of every incident. There must also be standards of quality and general
rules governing the conduct of personnel to serve as guides.
The Charter of the City of Buffalo, the contents of this manual and the Manual of Procedures, and the
orders, directives and authoritative instructions of the Police Department regulate the manner in which
Buffalo Police Department employees execute their specific duties.
Employees of the Police Department will be governed by specific and various rules, regulations and
procedures, and violations will constitute a basis for disciplinary action.
Many of the Rules and Regulations which appear to have been deleted from the previous edition, have
actually been incorporated with others and/or rephrased, i.e., rules may have undergone a change in form
but not in substance. Many other rules and regulations may appear in other authoritative sources, for
example, the Manual of Procedures, and have been deleted from this edition solely because of
redundancy. The same high standards and intent of previous editions remain in effect.
If any section, subsection, paragraph, sentence, clause, or phrase of this Manual of Rules and
Regulations for any reason is held to be invalid or unconstitutional, such decision shall not affect the
validity of the remaining portions or sections of these Rules and Regulations.
This Manual is delivered to you with the requirement that you study it carefully and be fully aware of its
contents and meaning. The Rules and Regulations contained are designed to fulfill a two-fold mission:
first, they form the basic framework of authority within which the operating procedures and policies of
the Police Department are developed and second, they are designed to provide employees with a clear
guide to acceptable standards of conduct and behavior.
Nothing in this Manual of Rules and Regulations is limited in the sense of prohibiting the disciplining of,
or the filing of charges against, employees because the alleged act or omission does not specifically
appear herein.




                                                      3




                                                                                                        COB_INC_00000065
  Case 1:18-cv-00719-CCR               Document 252-40            Filed 02/07/25          Page 9 of 30

                                   DEFINITIONS AND GLOSSARY

ACTING
Serving temporarily in a position to which the employee is not ordinarily assigned, usually in a position
of higher authority. All the authorities, responsibilities, and duties of the higher position become the
responsibility of the acting employee.

ASSIGNMENT
Any personnel placement made by established authority.

AUTHORITY
Legal or rightful power; a right to command or act.

AUTHORITATIVE INSTRUCTION
Any order, either verbal or written,-governing policy, procedure, rules or regulations.

CHAIN OF COMMAND
In descending or ascending order of rank, the line of authority, extending from the Commissioner
through every level of Command, as indicated by the Organiz.ational Chart of the Department.

COM?\-fANDING OFFICER
The term "commanding officer" as used herein shall refer to all employees holding a higher supervisory
or command position.

CRIME
As used herein, an act or commission of an act that is forbidden or the omission of a duty that is
commanded by law which makes the offender liable to punishment by law; a violation oflaw.

DEPARTMENT
The term "Department" as used herein shall refer to the Buffalo Police Department.

DUTY
Includes those tasks required by one's assignment, rank or status.

EMPLOYEE
The word "employee" as used herein shall include all sworn and non-sworn personnel assigned to the
Department.
                                                      5



                                                                                                    COB_INC_00000065
,..   Case 1:18-cv-00719-CCR             Document 252-40           Filed 02/07/25        Page 10 of 30
                                                                                                        -
        GENDER
        The use of the masculine gender shall also include, when appropriate, the female gender.

        IMMEDIATELY
        The term "immediately" means as soon as possible without unnecessary delay.


        INCOMPETENCE
        Being incapable of the satisfactory perfonnance of duties, which may include a lack of initiative,
        diligence, sound judgment, ability to take decisive action or any other trait which demonstrates
        incapacity or ineptness in the performance of assigned tasks.

        INSUBORDINATION
        The· failure or deliberate refusal to promptly obey a lawful order given by a commanding/superior
        officer or employee; ridiculing a superior officer/employee or the superior's orders; any disrespectful,
        insolent, or abusivelanguage or action toward any commanding officer.

        MALFEASANCE
        The doing of an unlawful act in office.



        The word "may" as used herein shall mean that the action indicated is pennissible.

        MEMBER

        The word "member" as used herein shall include any person duly appointed to the Department as a
        sworn police officer. Police Recruits/Probationary Police Officers are included in this definition.

        MISFEASANCE
        The wrongful doing of a lawful act in office.

        NEGLECT OF DUTY

        Failure to give suitable attention to the performance of duty. Failure to take appropriate action on the
        occasion of a crime, disorder, or other act or condition requiring police attention. Failure to perform
        duties.




                                                                                                                              I
                                                           6
                                                                                                                              I

                                                                                                           COB_INC_00000065
 Case 1:18-cv-00719-CCR              Document 252-40           Filed 02/07/25       Page 11 of 30

NONFEASANCE
The omission of an act which should have been done while in office.

OFF DUTY
That period of time which excludes the assigned work period. The period of time during which an
employee would not nonnally be required to actively engage in the perfonnance of his assigned duties.

OFFICER IN CHARGE
The member having the highest Civil Service rank. Members of the same grade shall assume charge
according to the date of appointment to that rank unless otherwise ordered by the Commissioner of
Police.

ONDUTY
That period of time when an employee is actively engaged in the performance of his assigned duties.

ORDERS
An order is a command; a directive (either oral or written) given by one in authority and directed to a
subordinate(s).
                                   General Order: Written orders issued by the Commissioner outlining
policy on matters which affect the entire Department. A General Order is the most authoritative directive
issued by the Department and may be used to amend, supersede, or cancel any other rule, regulation, or
order. General Orders are permanent Departmental policy and remain in full force and effect until
amended, superseded, or cancelled by the Commissioner.
                                    Lawful Order: Is any written or oral directive issued by any
commanding officer to any subordinate or group of subordinates in the course of police duty which is
not in violation of any law or ordinance or any Departmental rule, procedure or instruction.
                                    Special Order: Is a written directive issued by established authority
outlining instructions covering particular situations.

POLICY
Any governing principal, broad plan, or course of action, either oral or written, designed to accomplish
the Department's goals.

PROCEDURE
The official method of dealing with any given situation as prescribed by General Orders, Special Orders,
Manual of Procedures, Training Bulletins or other directives.

REPORT
A written communication unless otherwise specified.

                                                    7



                                                                                                      COB_INC_00000065
Case 1:18-cv-00719-CCR             Document 252-40            Filed 02/07/25        Page 12 of 30



  RULES AND REGULATIONS
  The terms "rules" and "regulations" as used herein are interchangeable since both indicate basic
  internal departmental legislation. They refer to broad precepts of authority, responsibility or conduct.
  They cany the full force and effect of a direct order from the Commissioner and stand until cancelled
  or superseded by a direct order of the Commissioner.

  SHALIJWil.L
  The words "shall" or "will" as used herein shall indicate that the action specified is mandatory.

  SICKLEAVE
  That period during which an employee is excused from duty under the applicable provisions of
  current regulations and/or prevailing contract.

  SUPERVISOR
  Any person designated to act in a supervisory capacity.

  TI-IROUGH OFFICIAL CHANNELS
  In descending or ascending order of rank. Synonymous with "Chain of Command". •




                                                                                                                    I
                                                                                                                     I
                                                                                                                     I
                                                      8
                                                                                                                     I
                                                                                                      COB_INC_00000065
        .                     Case 1:18-cv-00719-CCR    Document 252-40     Filed 02/07/25      Page 13 of 30




                                                                                                                     ~ ~a·;i
            General Order No.     90-7                                July 3, 1990                                   ~~ ~ n
                                                                                                                 'R~e.~                 !~
                                                                                                                    [~.g~               Ii
                         ALL MEMBERS OF THE DEPARTMENT                                                              8.9-! =
            TO:                                                                                                 'O"BE3E.
                                                                                                                 '< ::,, B fl
                                                                                                                 SD     e::,        :   ~
            SUBJECT:     Changes in the Rules & Regulations                                                      Q.&e_~
            Pl.JRPOSE:   To Conform with Rulings of the State Public Eq>loyment Relations Board
                                                                                                                a·Rs» qs_0 = ·~   0.
                                                                                                                0 : , !!!.~  ·~
                         A.    Rule l.l(a) of the Rules & Regulations is reacinded in its pruent
                                                                                                                a.~g_o_
                                                                                                                      ~-<m 10
                                                                                                                       0.

                               form.                                                                            0 ~?
                                                                                                                ...,~
                                                                                                                      !. ~
                                                                                                                      0
                                                                                                                g-~;i~=
                               Rule l.l(a} is hereby amended to read "&tl)layees shall not violate                s» ~ t»
                                                                                                                n P.ci1
                               any law of the United States, the State of New York, or the                      0
                               ordinances of the City of Buffalo."                                              a q·ir=In
                                                                                                                e.a . . 0.5'/
                         B.    Rule 3.lO(b) is hereby rescinded.                                                s· o.a
                                                                                                                rn

                                                                                                                =  ~
                                                                                                                       ~
                                                                                                                          0
                                                                                                                          O" ::,-

                                                                                                                ~ :~g.
                               All members of the Department are directed to note the changes in                      0~
                               their copies of the Jlules & Regulations, and cite the number of
                               this General Order in the margin next to each i;ule.
                                                                                                                     !~a
                                                                                                                     ::r~ s·
                                                                                                                     B°S,..
                                                                                                                     nm n

                                                                                                                     aooa
                                                                                                                        ...,r
                               No new pages will be issued at this time.
                                                                                                                     e,!oo
                                                                                                                     fa.o ~
            EFFECTIVE    This General Order is effective inmediately.                                                0 :l.6-
            DATE:                                                                                                    ~'<
                                                                                                                     .., . 0
                                                                                                                     ~ ~
                                                                                                                     o.~   8
                                                                                                                            s·
                                                                                                                     rn 0
                                                                                                                     -e
                                                                                                                     s» O"
                                                                                                                     :, --0O"
                                                                                                                           ....
                                                           Ralph v. Degenhart, Cclllnissioner                       O.e:::r
                                                                                                                    §« s·
                                                                                                                    2:o ~

z
 n
 0
le::,                                                                                           ::,
                                                                                                rn
                                                                                                                 isi
                                                                                                                 05.        O'"
                                                                                                                 ~c~
In
0
                                                                                                ~                (II Sl tl
                                                                                                                 0..    -·
0
0
0
0
0
O'l
u,


                                                                                                      .-
                                                                                                                            -
    Case 1:18-cv-00719-CCR               Document 252-40            Filed 02/07/25         Page 14 of 30

I                                   CHAPTER I - ORDERS AND DISCIPLINE


I    1.1           OBEDIENCE TO LAWS, ORDINANCES AND RULES
     a) Deleted as per PERB decision of 6/25/90.
I    b) Employees shall obey all the Rules and Regulations, General Orders, and authoritative instructions of
     the Department. (In order to constitute a violation of this rule, it is not necessary that a complaint be filed
     with the Department or with a criminal court, but only that the· facts exist which would. constitute a
I    violation of the law, ordinance, rule, or authoritative instruction).


I    1.2            FAMlLIARITY WITH THE LAWS, ORDINANCES, RULES
     Employees shall study and become familiar with the Rules and Regulations, orders, directives and

I    policies of the Department, City Ordinances, and State and Federal Laws affecting their duties.
     a) Returning from absence:

I            Employees returning to duty from any absence shall acquaint themselves with all amendments,
     additions, orders, and other authoritative instructions· ofthe:Department which have been issued in their
     absence.
I    b) Unfamiliarity No Defense:
            In the event of a breach of discipline, unfamiliarity with or ignorance of Rules and Regulations or
I    General Orders shall not constitute a defense.
     c) Making Changes as Directed:
I            It shall be the responsibility of every employee to promptly make all directed changes in any
     manual, text, or reference book issued to them by the Department.

     1.3           OBEDIENCE TO ORDERS
     Employ~ shall comply with all lawful orders.

     1.4           ISSUANCE OF ORDERS
     Orders, written or verbal, from any supervisor to any subordinate in the Department, shall be in clear,
     understandable language, civil in tongue and issued in pursuit of Departmental business in accordance
     with all legal requirements.

     1.5           UNLAWFUL ORDERS
    No superior officer/supervisor shall knowingly issue any order which is a violation of any law, ordinance
    or Departmental Rule or Procedure. Obedience to any unlawful order is never a defensefor an unlawful
    action; therefore, no employee is required to obey any order which is contrary to Federal, State or local
    law or ordinance. Responsibility for refusal to obey any unlawful order rests with the employee to
    whom such order was given. The employee shall be strictly required to just
    such action.



                                                           9



                                                                                                          COB_INC_00000065
-·   Case 1:18-cv-00719-CCR            Document 252-40            Filed 02/07/25        Page 15 of 30              -
        1.6          UNffiST OR IMPROPER ORDER
        When lawful orders which appear to be unjust or improper are given, the employee to whom the
        order is given shall respectfully notify the superior officer/supervisor issuing such order of its
        impropriety. If the order is not corrected, then the order is to be carried out. After carrying out the
        order, the employee to whom the order was given may file a written report to the Commissioner via
        the Chain of Command indicating the circumstances and reasons for questioning the order, along with
        a request for clarification of Departmental Policy. An employee who performs an order found to be
        unjust or improper by the Commissioner, but otherwise lawful, will not be held responsible ·for
        carrying out such order.

        I. 7         CONFLICT OF ORDERS

        Employees who are given any instruction or order which conflicts with any previously received
        instruction or order shall call this fact to the attention of the person issuing the second order. If so
        directed, the latter order shall be obeyed. Previous orders or instructions shall be countermanded
        only when necessary. The supervisor issuing the countermanding instructions or order shall be held
        responsible for that action.

        1.8           INSTRUCTIONS FROM RADIO DISPATCHER
        All messages transmitted over the Police Radio System shall be direct and concise and shall conform
        with all Departmental radio procedures and the Rules and Regulations of the Federal
        Communications Commission.
        No officer shall fail to obey or refuse to take cognizance of any communication transmitted by the
        Radio Dispatcher, unless directed to do so by a superior officer. Superior Officers shall be held
        strictly accountable for any communication/order countermanded by them.

        1.9           EFFECTIVENESS OF ORDERS
        All General Orders, Special Orders, Directives, Training and Legal Bulletins, Memorandums or other
        orders in writing that have been approved or authorized by the Commissioner, shall have. the force
        and effect of a Departmental Rule or Regulation and shall be obeyed as such.

        I. 10          INSUBORDINATION
        Employees shall not be insubordinate.




                                                           10

                                                                                                       COB_INC_00000065
    Case 1:18-cv-00719-CCR              Document 252-40             Filed 02/07/25        Page 16 of 30

I                     CHAPTER II - PERFORMANCE OF AND AITENTION TO DUTY
     2.1           GENERAL DUTIES
I    Members shall protect life and property, preseive the peace, prevent crime, detect and arrest violators of
     the law and enforce those laws of the United States, the State of New York, and Ordinances of the City
I    of Buffalo over which the Department has jurisdiction.
     2.2           RESPOND WHEN DIRECTED

I    Employees shall respond as directed by established authority.
     2.3           REPORTING FOR DUTY
I    Members shall report for duty promptly at the- time and place required by their assignment or as
     otherwise directed by the Commissioner or their Commanding Officer. They shall be properly

I    uniformed and suitably equipped, ready to immediately assume their duties. While on duty, they shall
     avoid any activities not directly related to their duties and responsibilities and shall not absent themselves
     from duty without leave. Members unable to report for duty because of sickness or injury shall notify, or
     cause to be notified, their commanding officer/supervisor as soon as possible prior to the start of their
I    tour of duty. It shall be the commanding officer's responsibility to make note of tardiness and to keep a
     record of all tardiness.

I    2.4           ATTENTION TO DUTY
     Members shall at all times be alert and vigilant in the performance of their duties and shall respond
     prudently but decisively when police action is required.
I    2.5           DEVOTION TO DUTY

I    Members, while on duty, shall devote their full time and attention to the service of the Department and
     to the citizens of the community.

I    2.6           ABSENCE FROM DUTY
    Employees shall not be absent from duty without obtaining permission from their supervisor in
    accordance with current directives.
I    2.7           ACTION REQUIRED REGARDLESS OF ASSIGNMENT

I    Members shall take appropriate action regarding any violation of law they obseive, or which is brought
     to their attention regardless of their assignement or duties. Exceptions may be made for persons on
     special duties or assignments.
I    2.8           SEEKING INFORMATION REGARDING DUTIES
    Employees who are in doubt as to the nature or detail of their assignment shall immediately seek such
I   information from their supervisor.
     2.9           DRIVING PRIVATE VEIIlCLE TO POST
I   Members will not drive, use, or park a private vehicle in the vicinity of their post, except with permission
    of their commanding officer.

I
I
                                                          11
I
                                                                                                         COB_INC_00000065
Case 1:18-cv-00719-CCR            Document 252-40           Filed 02/07/25        Page 17 of 30



    2.10           INSPECTING AREA OF ASSIGNMENT
    Employees will ins~t their areas _of assignment as soo~ as possible ~er ~ g th~ir tour o( duty
    and as often as possible during then- tour of duty, reportmg any cond1t10n requmng police attention or
    the attention of any other city department or agency.
    2.11           LEAVING AREA OF ASSIGNMENT
    Employees shall not leave their area of assignment unless:
    a) on assignment from the radio dispatcher;
    b) authorized by a commanding officer;
    c) an incident outside of their immediate area requires police attention;
    d) in close pursuit of a violator of the law.
    2.12           ATTITUDE AND IMPARTIALITY
    Employees, while vigorous and unrelenting in the enforcement of the law, must maintain a strictly
    impartial attitude toward complainants, violators, witnesses and suspects.
    2.13           COURTESY
    Employees shall perform their duties in an efficient, courteous,-and orderly-manner using-patience and
    good judgment at all times. They shall be courteous and considerate to the public, to their superior
    officers and to their fellow employees.. They shall not use harsh, profane, or insolent language. They
    shall be tactfuJ in the performance of their duties and are expected to exercise the utmost patience and
    discretion even under the most trying circumstances.
    2.14           ASSISTANCE TO FELLOW EMPLOYEES
    Employees shall aid, assist and protect their fellow employees to the full extent of their capability in
    times of need and in accordance with established procedures.
    2.15           ASSISTANCE TO CITIZENS
    Employees shall, in accordance with policies and procedures of the Department, render all possible
    police service to any citizen seeking information or assistance.
    2.16           CIVIL DISPUTES
    Members shall take a neutral position in any dispute of a civil nature, acting only to prevent or control
    any breach of the peace that may arise.
    2.17           MEDICAL ATTENTION FOR ILL/INJURED PERSONS
    Employees shall insure that any injured or ill person is given the opportunity for medical attention.
    2.18           SERVINGWARRANTS/SUBPOENAS
    Employees are to serve all warrants and subpoenas in accordance with current statutes and directives.
    2.19           TAK.ING ARRESTED PERSONS TO HEADQUARTERS
    Employees taking custody of arrested persons will send or take these persons to the place of booking
    immediately unless directed otherwise a commanding officer or when medical attention is required.


                                                       12


                                                                                                      COB_INC_00000065
     Case 1:18-cv-00719-CCR              Document 252-40            Filed 02/07/25        Page 18 of 30


     2.20           APPEARANCES REQUIRED
     a) Employees, when notified by competent authority, shall appear promptly at the appointed time and
     place before any court or tribunal. If subpoenaed, they shall notify their supervisor and other authority as


~
     required. They shall not absent themselves from any trial or hearing except for good cause in which case
     they shall notify either the Assitant District Attorney, the Court Attendant or whoever is in authority
     over the hearing board or internal investigative body.
     b) Employees must respond to inquiries when ordered to appear before any authorized investigating
I    body, judicial tribunal, hearing board, or persons authorized to take testimony. All employees shall be
     dressed in accordance with current directives when testifying and be punctual in attendance.


I    2.21           LOITERING OR SLEEPING ON DUTY/CONGREGATING •
     a) Employees shall not loiter or sleep on duty.
I    b) While on duty, employees shall not congregate about public places or engage in recreation or games
     of chance unless necessary in the performance of duty and approved by a supervisor.
'I   c) .Off-duty employees shall not congregate or loiter about public places while in recogniz.able uniform.
     2.12         · CONDUCTING PRLVATE BUSINESS ORASSOCIATION ON DUTY
I    Employees shall not devote any of their on-duty time to the pursuit of any private business, private
     enterprise or personal association.
I    2.23           READING ON DUTY


I    Employees shall not, to the detriment of their duties or in public view, read newspapers, periodicals, or
     books while on duty. Publications and material pertaining to the police field may be read or studied as
     long as proper and efficient performance of assigned duties is not impaired.

I    2.24           MEAL PERIODS AND PERSONAL SERVICES
     Employees shall obtain meal periods and personal services in compliance with current directives.
I    2.25           COMMANDING OFFICERS ADDRESSED BY TITLE
     Employees, while on duty, shall address commanding officers by title.
I    2.26           CONCEALMENT

I    Employees shall not conceal themselves while on duty except for a police purpose.
     2.27           CIVILIAN PASSENGERS IN POLICE VEIIlCLES
I    Members shall not-transport-nor allow-any-civilian -to enter or· ride in a police vehicle without first
     notifying and obtaining the permission of the Radio Dispatcher. If permission is granted by the Radio
     Dispatcher, the officer requesting permission shall announce the departure and destination points and the
I    beginning and ending vehicle mileage. The Radio Dispatcher will announce the times of departure and
     arrival.

I
I                                                        13

I
                                                                                                         COB_INC_00000065
Case 1:18-cv-00719-CCR             Document 252-40           Filed 02/07/25        Page 19 of 30



                               CHAPTER ID - GENERAL CONDUCT

 3.1           RESPONSIBILITY
 a) It shall be the responsibility of every member of the Department to familiarize themselves with the
 rules, regulations, orders and procedures of the Department, particularly as they relate to the position
 the member holds, and to obey them.
 b) Employees shall have a thorough knowledge of the duties of the position they hold and shall
 perform those duties with diligence.
 c) Every member of the Department shall be competent to perform the duties of the position he/she
 holds. Manifest inability, failure, or neglect to perform the duties incumbant upon him by virtue of
 his/her position or assignment shall be the subject of disciplinary action.
 d) Members assigned to temporary "Acting" duty shall have the same authority and·responsibility as
 the regularly assigned member, and shall perform their duties with diligence.
 3.2          CONDUCT
 a) Employees shall. so conduct themselves in both their· private and, professional lives as to avoid
 bringing discredit upon the Department.
 b) No employee shall conduct himself in such a manner, or perform any act, which is prejudicial to
 the good order, discipline or reputation of the Department, although such action is not specifically
 prohibited by any rule or order; and this whether the employee is on or off duty.
 3.3           FREQUENTING UNLAWFUL ESTABLISHMENTS
 Employees shall not knowingly enter or remain in any premise wherein the laws of the Unites States,
 the State, or the local jurisdiction are violated, except in the direct performance of their duties.
 3.4           PERSONAL ASSOCIATIONS
 Deleted as per PERB decision of 6/25/90.
 3.5           TRUTHFULNESS
 Employees are required to be truthful in speech and writing whether or not under oath.
 3.6           UNNECESSARY FORCE
 Members shall not use unnecessary force or violence toward any person, but shall use only such force
 as may be necessary to accomplish their lawful purpose and in conformity with existing law.
 3.7           DISCUSSING EVIDENCE
 Employees shall not discuss with the media, or any other person, the evidence arising out of a
 criminal investigation or civil proceeding without the knowledge and permission of their commanding
 officer or established authority or unless otherwise mandated by law.




                                                   14



                                                                                                      COB_INC_00000065
     Case 1:18-cv-00719-CCR Document 252-40                          Filed 02/07/25         Page 20 of 30
    3.8       DIVULGING POLICE INFORMATION
I   Employees shall not diwlge police infonnation to which they have access or which may come to their
    attention, nor shall they make any infonnation contained in police records available to anyone except as
    provided by law or established authority.
I
    3.9           INFORMATION WHERE CITY IS INTERESTED PARTY
I   Employees shall not diwlge to any but authorized persons, infonnation concerning any incident or
    investigation in which the City of Buffalo is, or could become, an interested party. All inquiries
    regarding such matters shall be referred to the Corporation Counsel.
I
    3.10           SPEECHES, STATEMENTS, ETC.
I   a) Employees shall not fill speaking engagements, nor cause to be published, any article or writing, nor
    permit their names or photographs to be used in connection with any commercial advertising or
    promotion, as a representative or spokesman for the Department, without the approval of the
I   Commissioner.
    b) Deleted as per PERB decision of 6/25/90.
I
    3.11           FORWARDING INFORMATION
I   Employees having infonnation on any police matter, in which they are not directly concerned, shall
    forward, through their commanding officer, all such infonnation to the Departmental subdivision
    concerned. Such infonnation shall not be withheld under any circumstances.
I
    3.12           INDEPENDENT INVESTIGATIONS
I   Except in circumstances requiring immediate police action; employees shall not conduct independent
    investigations outside their regularly assigned duties, without authority of a higher commanding officer.
    If, due to exigent circumstances, such an investigation is initiated, that fact, together with all infonnation
I   gathered, will be communicated to the employee's supervisor or other affected unit at the earliest
    possible opportunity.

I   3.13           TESTIMONY

I   When called upon to do so, employees shall give testimony completely, impartially, and without
    reservation, and with no desire or design to influence the result.

I   3.14           ACCEPTING REWARDS, GRATUITIES, ETC.
    Employees shall not accept any reward, gift or gratuity as a result of any services rendered in the line of
I   duty without first .obtaining.the .pennission.ofthe Commissioner of Police.


I   3.15           TESTIMONIALS, SOLICITATIONS, ETC.
    a) Employees shall not bestow testimonials or gifts on other employees of the Department without the
    permission of the Commissioner.
I   b) Employees shall not collect money, nor circulate subscription papers nor sell tickets or solicit
    donations, prizes or gifts for charitable or any other purpose, except upon prior permission of the
I   Commissioner.
                                                          15
I
                                                                                                           COB_INC_00000065
            Case 1:18-cv-00719-CCR             Document 252-40             Filed 02/07/25          Page 21 of 30
~
0
    1   I



'i             c) Employees shall not resort to the use of telephone, mail or handbill, or any program or
               advertisement in such program, or any form of printed admission, when, in so doing, the name of the
               Buffalo Police Department or any of the Police subdivisions, is used in furtherance of such sale or
               solicitation, except with the express written permission of the Commissioner.
              d) Employees shall not retain any promoter or promotional agency for the purpose of solicitation or
              sale of tickets or other form of admission, or any program, or advertisement in such program for the
              benefit of the Department or any of its members, by using the Department name as a means of
              effecting or promoting such sale.                                                               0




              e) Employees shall not cause or permit to be printed or otherwise manufactured, any ticket or other
              form of admission, program, or other matter for the purpose of sale or SOticitation, on which the
              name of the Department is used, without first obtaining the permission ofthe Commissioner.

              3.16           MEMBERSIDP AND ORGANIZATIONS
              a) Employees shall not join or be a member of any organiz.ation or society whose object or purpose,
              either directly or indirectly, would adversely affect the discipline or conduct of the employee or
              Department.
              b) Employees shall not knowingly be connected with or be a member of any subversive organiz.ation
              except in the line of duty and with the knowledge and consent of the Commissioner.

              3.17           POLITTCAL ACTIVITY
              a) Employees shall not join, or become members of any political club, association, society, or
              committee, or engage in any political activity, except as is permitted by law, and in no event if such
              membership or activity would interfere with or adversely affect, the performance of their
              Departmental duties.

              3.18           SEEKING/ACCEPTING COMPENSATION FOR DAMAGES OR INJURY
              Employees shall not seek, claim, litigate, or solicit, nor shall they accept from any person or agency
              any money or compensation for damages, expenses or injury incurred by them in the line of duty
              without prior written permission of both the Commissioner of Police and the Corporation Counsel.

              3.19           DEBTS
              Employees shall pay all just debts and satisfy legal liabilities incurred by them.

              3.20           EXPENDITURES OF DEPARTMENT FUNDS
              Employees shall not spend any monies or incur any •financial obligations in the name of the
              Department without prior knowledge and permission of the Commissioner of Police.
              3.21           CORRESPONDENCE, LETTERHEADS
              a) All correspondence leaving the Department shall be issued only with the signature of the
              Commissioner of Police or as authorized by the Commissioner of Police.
              b) The official letterhead of the Department shall not be used for unofficial correspondence.

                                                                   16


                                                                                                              COB_INC_00000065
    Case 1:18-cv-00719-CCR                Document 252-40            Filed 02/07/25      Page 22 of 30

I   3.22           PERSONAL CARDS
    Employees shall not possess or use business cards or any other identification cards bearing Departmental
I   affiliation and/or rank, except as authorized by the Commissioner of Police.
    3.23           FOUND. RECOVERED PROPERTY

I   Employees shall, in accordance with current directives, transmit immediately to the custody of the
    Bureau of Administrative Services all found, confiscated, or recovered property coming into their
    possession.
I   3.24           USE OF ALCOHOLIC BEVERAGES

I   a) Employees shall not drink, purchase or have in their possession any alcoholic beverage while on duty,
    except in the performance of their official duty, nor shall any alcoholic beverage be brought into any
    police facility except in the performance of duty.

I   b) Employees who are off duty in uniform or in any recogniz.able part of their uniform, shall not drink
    alcoholic beverages in public view.    •

I   c) Employees, while off duty, shall not drink any alcoholic beverages to the extent which renders them
    unfit to perform or report for· duty ·or which results in the ·commission ·of an act which might tend to
    discredit the Department.                                       •
I   3.25           USE OF TOBACCO
    Employees shall not chew or smoke tobacco while on duty and in public view, in such a manner as to
I   adversely affect the professional image of the Department.
    3.26           CONTROLLED SUBSTANCE
I   Employees, whether on or off duty, shall not possess or use any non-prescribed controlled substance,
    except for that possession occuring in the line of official duty.

I   3.27           USE OF FORCE
    Employees shall use force only as necessary and in accordance with current law and directives.
I   3.28           FIREARMS AND AMMUNITION

I   a) The indiscriminate and careless use of firearms is strictly prohibited.
    b) Employees shall be responsible for the security of their firearms at all times.

I   c) Employees shall immediately report the loss, theft, sale or disposal of a firearm capable of being
    concealed on the person.

I   d) Sworn members of the Department shall report the acquisition of any firearm capable of being
    concealed on the person, or the alteration of any such weapon already possessed, to the Firearms Unit
    for recording of same.
I   e) While on duty, Officers shall wear their sidearm in the prescribed manner. When off-duty, they may
    cany their sidearm concealed on their person, in any manner they select.

I   t) While on duty, Officers shall only cany, use or discharge those firearms which have been duly
    approved and registered with the Firearms Unit. Officers must be qualified by the Firearms Unit for any
    weapon(s) possessed or carried by them while on duty.
I
                                                         17

I
                                                                                                     COB_INC_00000065
Case 1:18-cv-00719-CCR           Document 252-40            Filed 02/07/25        Page 23 of 30          ---
   g) While on duty, Officers shall cany, use or discharge only those types of ammunition which have
   been duly approved by the Buffalo Police Department.
   h) While on duty, Officers are restricted from dry-firing or other forms of practice with a firearm,
   except under the personal direction of a Firearms Instructor.
   i) Firearms shall not be used against another person except in extreme cases and only then if in
   conformity with the provisions of Penal Law, Article 35, "Defense of Justification". The discharge of
   a firearm at or from a moving vehicle is strictly forbidden except when justified within Article 35. of
   the Penal Law.
   j) Members shall use their utmost discretion in discharging their firearms. If a member discharges his
   firearm for any reason, he/she shall immediately report same to his superior Officer and shall complete
   and file all reports as required by current directives.
   k) No employee, other than a sworn member of the Department, shall possess or cany any type of
   firearm while on duty, except with the express written permission of the Commissioner.

   3.29          APPLICATIONS FOR PISTOL PERMITS
   Employees shall not endorse applications for pistol permits as character references.

   3.30          UNIFORMS
   Employees whose assignment requires the wearing of a uniform shall wear such uniform in the
   manner prescribed.

   3.31          NON-UNIFORM AITIRE
   Employees working in non-uniform assignments shall wear attire appropriate to their duties and
   assignments in a manner prescribed by current directives.

   3.32          OUTSIDE EMPLOYMENT
   Employees may engage in outside employment subject to the approval of the Commissioner of Police
   and in accordance with law and current directives.

   3.33          SICK LEAVE
   Employees on sick leave shall not leave their place of residence except in accordance with current
   directives.




                                                     18

                                                                                                  COB_INC_00000065
Case 1:18-cv-00719-CCR              Document 252-40            Filed 02/07/25         Page 24 of 30

                            CHAPTER N - USE OF OFFICIAL POSmON


4.1           USE OF BADGE OR POSffiON FOR PERSONAL GAIN

Employees shall not use, or attempt to use, their offical position, badge or credentials for personal or
financial gain or for personal vengeance. Employees shall not permit any other person to use their badge
or credentials for any purpose whatsoever.

4.2           DISCLOSING NAME AND BADGE NUMBER

Members shall give their name and badge number to any person requesting such information.

4.3           COURTESY CARDS

No employee of the Department, either individually or representing any organiz.ation within the
Department, shall give or issue to any person, other than a member of the Department, active or retired,
any card, button or device which could be construed-as granting. to, .or requesting for, the holder, any
special privilege or consideration.

4.4           USING PHOTOGRAPH FOR COMMERCIAL PURPOSE

Employees shall -not,- without- the- permission of the Commissioner.of.Police, allow -their names or
photographs to be used in any commercial enterprise which alludes to their employment with the
Department.

4.5            USING INFLUENCE OF OFFICE FOR POLffiCAL PURPOSE

Employees shall not use the influence of their office or position for political purpose.

4.6           RECOMMENDING ATTORNEYS

Employees shall not solicit, suggest, recommend, advise or counsel the engagement or retention of any
specific attorney, legal finn, bail bondsman, company, or of any other person or firm for any person as a
result of police business. This prohibition shall not apply to employees making such recommendations to
their relatives.

4. 7          GNING SURETY OR BAIL FOR PERSONS IN CUSTODY

Employees shall not offer or give surety or bail for any persons in custody except with the permission of
the Commissioner of Police or such other person authorized by the Commissioner to give such approval.
This prohibition shall not apply to employees giving surety or bail for their relatives.

4.8           WITHDRAWING CHARGES

Employees shall not, except as provided by the Criminal Procedure Law, withdraw arrest charges, solicit
withdrawals or void traffic charges unless approved by competent authority in conformity with existing
regulations and procedures.

4.9            COMMUNICATING INFORMATION TO AID EVASION

Employees shall not communicate any information which may enable persons to evade arrest and/or
punishment or enable them to dispose of or secrete.any evidence or contraband.




                                                     19



                                                                                                 COB_INC_00000065
Case 1:18-cv-00719-CCR             Document 252-40           Filed 02/07/25        Page 25 of 30


 4.10          WARRANTS FOR PERSONAL ASSAULTS
 Members shall not apply for a warrant for an assault upon themselves, without first reporting the
 circumstances, through their Commanding Officer, to the Commissioner and obtaining his
 pennission.


 4.11          CIVIl..CASES

 Employees shall not use the powers of their office to render assistance in the pursuit of matters which
 are strictly private or civil in nature except in those matters where they are required by law to so
 exercise their powers or where a breach of the peace has occurred or is imminent.


 4.12          APPEARING AS WITNESS: FOR DEFENSE OR CIVIl.. CASES

 Employees shall not appear as a witness for the defense in any criminal case, or in any legal
 proceeding in which the City of Buffalo is, or may become, a party, without first complying with
 Departmental Orders governing such cases.


 4.13           COMMUNICATION BETWEEN PRISONERS AND ATTORNEYS

 Employees shall not communicate any message between prisoners and attorneys without pennission
 of their Commanding Officer. Employees may contact an attorney requested by a prisoner; but only
 for the purpose of advising the attorney of the arrest of the prisoner.


 4.14          UNLAWFUL COMPROMISE

 Employees shall not participate, directly or indirectly, in any unlawful compromise between
 complainants and offenders.


 4.15          PLEA BARGAINING

 Members shall not engage in, nor recommend, approve or actively consent to, the reduction or
 changing of a charge against a defendant.


 4.16          CONNECTION WITH LIQUOR ESTABLISHMENT

 Members shall not own, operate, or in any way be connected, either directly or indirectly, with any
 business where intoxicating liquors or beverages are manufactured or sold except in conformity with
 existing statutes.




                                                                                                                   I
                                                   20
                                                                                                                       I
                                                                                                    COB_INC_00000065
    Case 1:18-cv-00719-CCR            Document 252-40          Filed 02/07/25       Page 26 of 30

                              CHAPTER V - DEPARTMENTAL PROPERTY


    5.1          USE AND RESPONSIBILITY

    Departmental property shall be employed only for Departmental purposes and in conformity with the use
    for which it was intended. Employees shall be held responsible for the proper care and use of property
    and equipment assigned to or used by them. When investigation reveals that loss or damage of
    Departmental property or equipment was due to the negligence or carelessness of an employee or that
    such loss or damage was deliberately caused, such employee may be required to compensate the
    Department for the loss or damage.

    5.2          REPORTING LOSS OR DAMAGE

    a) Employees shall immediately report in writing to their superiors whenever Departmental property
    becomes unserviceable or lost or damaged while in their possession or use.

    b) Superiors shall investigate and report in writing, through regular channels, whenever Departmental
    property is damaged, lost or destroyed due to negligence or lack of exercise of due care on the part of
    any employee.

    5.3          QUALIFICATION REQUIRED

    Employees shall not operate any item of Departmental equipment unless they are fully qualified and
    authorized to do so.

    5.4          PROPERTY NOT TO BE REMOVED

    Departmental property shall not be removed from the place to which it is assigned without proper
    authorization.

    5.5          RETURN OF ISSUED/ASSIGNED PROPERTY

I   Departmental property entrusted, issued or assigned to an employee shall be returned by him/her upon
    separation from the Department. Compensation due may be withheld until he complies with this
    requirement.
I   5.6          UNAUTHORIZED COMMUNICATION DEVICES


I   No employee of the Department, while on duty, shall use, carry or have in his possession or under his
    control, any communicaton device of any nature (one or two-way radio, pager, beeper, etc.) except as
    authorized or issued by the Department.

I   5.7          DEPARTMENTAL BUILDINGS

    a) Employees shall maintain Departmental buildings, offices and equipment in a clean and orderly
I   condition.

    b) No persons, other than employees of the Department, or persons on business, shall be permitted to

I   remain or loiter in Police buildings, except by permission of the member in charge.

    c) Only persons authorized by the Commanding Officer shall be allowed behind the desks of the various
    station houses, except by permission of the Officer in charge.
I   d) Department buildings shall not be used for other than police business, except by permission of the
    Commissioner.
I                                                    21

I
                                                                                                   COB_INC_00000065
Case 1:18-cv-00719-CCR             Document 252-40            Filed 02/07/25        Page 27 of 30


 e) No materials such as poster, pamphlets, leaflets, handbills, circulars, including, but not limited to,
 political posters, advertisements, announcements, etc., can be posted, displayed or distributed to the
 public or to Departmental employees on police property unless such materials are first approved by
 the Commissioner of Police. Commanding Officers of Precincts/buildings shall forward all such
 materials to the Commissioner, who will determine if such materials can be distributed or displayed
 on Police Department property.

 f) No television sets shall be played, kept, or stored in any Police Department building without the
 express written permission of the Commissioner of Police.




                                                   22


                                                                                                    COB_INC_00000065
      Case 1:18-cv-00719-CCR           Document 252-40           Filed 02/07/25        Page 28 of 30


                CHAPTER VI - REPORTS RECORDS AND COMMUNICATIONS

6.1           ALTERING, DELAYING, REMOVING OR FALSIFYING REPORTS
a) Employees shall not alter, delay, falsify, withdraw, remove, or request that any other person alter,
delay, falsify, remove, or withdraw any report, letter, request, or other communication that is being
forwarded through the chain of command. This shall not preclude the correction of errors.
b) Employees shall not dissuade any other employee from originating and submitting any lawful or
proper report, whether on criminal or disciplinary matters.
c) Employees shall not falsely make or submit any type of official report or knowingly enter or cause to
be entered any inaccurate, false or improper information on the records of the Department.
d) Employees shall not remove, or permit to be removed, any Departmental record, communication or
report from any file or place where they are kept, without permission of the member in charge. They
shall give a receipt for the same whenever such record is removed.
e) No Departmental record shall be altered, destroyed, or permanently removed, except in compliance
with law and by direction of the Commissioner.
6.2           INSPECTION: COPYING OF REPORTS
None but persons authorized by law, Departmental Rule or Order, shall be permitted to see, examine or
copy any Departmental record or report. Supervisors· of the various branches of the Department shall
establish, in conformity with existing law, rule and/or order, the conditions necessary to effect
compliance with this rule.
6.3           DEPARTMENTAL BUSINESS: TIMELINESS OF REPORTS
Departmental reports shall be made at the times specified and in the manner prescribed. Departmental
business shall be conducted through official channels in conformity with the Chain of Command and
channeled throughout the Department in conformity with the Organizational structure of the
Department.
6.4           REPORTING VIOLATIONS
Deleted as per PERB ruling of6/25/90.
6.5           REPORTING IT.LEGAL ACTIVITIES
a) Members shall report to their supervisors all suspected places of illegal activity discovered or coming
to their attention while on or off duty.
b) Members shall take note of and investigate all suspicious persons and vehicles and report same in
accordance with current directives.
6.6           UNAUTIIORIZED GIFTS, GRATUITY, ETC.
Employees shall report in writing, to the Commissioner of Police, any offer or attempt to offer a gift,
loan, fee or gratuity in violation of the Rules and Regulations.




                                                   23

                                                                                                                         ■




                                                                                                      COB_INC_00000065
Case 1:18-cv-00719-CCR             Document 252-40           Filed 02/07/25        Page 29 of 30


 6. 7          TESTIMONY FOR DEFENSE
 a) Employees who are requested or subpoenaed to testify or who intend to testify on behalf of the
 defense against the Department, the City of Buffalo, the "People of the State of New York", or in any
 criminal action shall immediately notify their supervisor and the prosecuting attorney of such request,
 subpoena, or intention to testify prior to testifying.
 b) Employees who are requested or subpoenaed to testify against the Department of the. City of
 Buffalo in any civil action shall immediately notify both their supervisor and. the Corporation
 Counsel's Office of such request or subpoena.
 c) The employee shall forward this information in both "a" and "b" above to the Professional
 Standards Division.

 6.8           INFORMATION REGARDING CRIME
 Employees, whether on or off duty, shall communicate. promptly to their supervisors, all· information
 on crimes, criminal activity or important happenings of which they have knowledge.

 6.9           ARRESTS AND COURT ACTIONS
 Deleted as per PERB decision of 6/25/90.

 6.10          ADDRESS AND TELEPHONE NUMBER
 a) Employees shall report their place of residence or change of residence to their Commanding
 Officer and to the Bureau of Administrative Services within forty-eight (48) hours of such change.
 b) Employees shall report their telephone number or change in telephone number to their
 Commanding Officer and to the Bureau of Administrative Services within twenty-four (24) hours of
 such change.

 6.11          CIVIL SIBTS; CLAIMS FOR LOSS OR PERSONAL INJURY
 a) Employees shall report any claims for damage to clothing or other personal property belonging to
 the employee caused by the performance of duty in conformity with the provisions of the Manual of
 Procedures.
 b) Employees shall not seek in any way, nor accept from any person, money or compensation for
 damages sustained or expenses incurred by them in the line of duty without first reporting in writing
 to the Commissioner their intention of doing so and obtaining his permission to do so.
 c) Employees who have received municipal salaries or sick benefits for illness or for personal injury
 sustained while eitherun-or-off--duty"shall·report·accordingto existing Departmental regulations any
 intent to seek, solicit or accept compensation/reimbursement as damages for such illness or injury.
 The report shall be filed before the action is taken which shall include the facts of the claim and the
 name of the defendant or party. The Commissioner shall be kept informed of the status of the
 case/claim and the final court determination or settlement.




                                                   24


                                                                                                   COB_INC_00000065
Case 1:18-cv-00719-CCR              Document 252-40           Filed 02/07/25        Page 30 of 30



                       CHAPTER VII - SUPERIOR OFFICERS/SUPERVISORS

 7.1           DUTIES AND RESPONSIBILITIES: GENERAL
Superior Officers/Supervisors are charged with the duty and responsibility to properly and adequately
supervise employees under their authority at all times to insure compliance with all Departmental Rules,
Regulations and Orders morder to insure fair and effective discipline and to promote the mission of the
Department. In furtherance of that goal and to fulfill their responsibility; Superior Officers/Supervisors
shall:
a) Provide that their subordinates are properly instructed in all their duties and shall be responsible for
the enforcement of the law and compliance with Departmental Rules, Procedures and Orders by their
subordinates.
b) Be responsible for the discipline and conduct of their subordinates and for the quality and
effectiveness of the service rendered by them. In that regard, they shall thoroughly acquaint themselves
with the capabilities of the personnel under their jurisdiction and shall report thereon when required.
c) At all times, strictly and impartially enforce -the observance -of -high ethical standards of their
subordinates.
d) Be responsible to insure that orders given to subordinates are properly carried out.

7.2            ABUSE OF SUBORDINATES
 Superior Officers/Supervisors shall not injure or abuse subordinates by tyrannical, arbitrary or capricious
 conduct or by abusive language and shall avoid censuring them in the presence of others.

 7.3           DUTY TO INVESTIGATE AND REPORT MISCONDUCT
Superior Officers/Supervisors shall thoroughly investigate and take proper action in conformity with
existing procedures whenever a complaint is made against an employee of the Department and shall file,
according to existing procedures, a complete report thereon.

7.4            EXEMPLARY CONDUCT EXPECTED
In furtherance of their obligation to "lead by example", Superior Officer/Supervisors shall, at all times,
conduct themselves in a manner which furthers the goals and mission of the Department and which sets a
proper example of conduct, decorum and attention to duty that is expected of all employees of the
Department.

 7.5           DUTY TO DISCOVER
It is not enough for a superior officer to only investigate or report on misconduct or transgressions
which are brought to his/her attention. It is also his/her responsibility to discover these acts, especially
where a pattern or trend has developed, and a reasonable man should have been expected to discover
such acts.




                                                     25



                                                                                                   COB_INC_00000065
